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                     EXHIBIT A
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                   RESOLUTION TO FILE CHAPTER 11 REORGANIZATION

                                              BY THE MANAGER OF

                                      286 RIDER AVE ACQUISITION LLC

          The undersigned manager (“Manager”) of 286 RIDER AVE ACQUISITION

LLC, a New York limited liability company (“Company”), acting pursuant to New

York Limited Liability Company Law and the Operating Agreement of the Company

hereby adopts the following resolutions:

                WHEREAS, the Company is unable to satisfy its current
          financial obligations to its creditors and Manager having received,
          considered, and had discussions with counsel and other professionals;
          and

                  WHEREAS, it appearing in the business judgment of the
          Manager that it is in the best interest of the Company and its creditors
          to file a Voluntary Petition for relief under Chapter 11 of the United
          States Bankruptcy Code (“Bankruptcy Code”); it is hereby

                RESOLVED, that the Company initiate a case (“Case”) under
          Chapter 11 of the Bankruptcy Code in the United States Bankruptcy
          Court Southern District of New York; and it is further

                 RESOLVED, that, subject to Bankruptcy Court approval, the
          Company is hereby authorized to obtain debtor-in-possession financing
          from Be-Aviv 286 Rider LLC or such other lender offering better terms
          for debtor-in-possession financing; and it is further

                RESOLVED, that, the actions of the Manager shall always be in
          accordance with the Operating Agreement of the Company and any
          amendments thereto; and it is further

                 RESOLVED, that the Company shall employ and retain the
          following professionals to assist it in the bankruptcy process: Robinson
          Brog Leinwand Greene Genovese & Gluck, P.C., as bankruptcy counsel
          for the Company; and Rosewood Realty Group, as real estate sale
          broker.




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          IN WITNESS WHEREOF, the undersigned Manager has executed this

consent as of July 15, 2021.


286 RIDER AVE ACQUISITION LLC


/s/ Lee E. Buchwald
Lee E. Buchwald
Manager




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